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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION

VINCENT HANDSFORD,                          )
                                            )
        Plaintiff,                          )
                                            )
v.                                          )   CIVIL ACTION FILE NO.
                                            )   1:19-cv-05746-JPB-RDC
SHERIFF LEVON ALLEN,                        )
in his official capacity,                   )
                                            )
                                            )
        Defendant.                          )

                      PLAINTIFF’S MOTION FOR LEAVE TO
                     DEPOSE FEDERAL INMATE VICTOR HILL

        COMES NOW Plaintiff Vincent Handsford, pursuant to Fed. R. Civ. P.

30(a)(2)(B), and files this motion for leave to depose federal inmate Victor Hill,

the former Sheriff of Clayton County, Georgia, showing the Court as follows:

     1. By this motion, Plaintiff seeks leave to take the deposition of the former

        Sheriff of Clayton County, Georgia, Victor Hill (“Hill”), who is confined in

        federal prison at FCI Forest City Low, located at 1400 Dale Bumpers Road,

        Forrest City, Arkansas 72335.

     2. Pursuant to Fed. R. Civ. P. 30(a)(2)(B), “A party must obtain leave of court,

        and the court must grant leave to the extent consistent with Rule 26(b)(1)

        and (2): [ ] if the deponent is confined in prison.”
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   3. Defendant does not oppose relief sought herein.

   4. The deposition of Hill is necessary for the prosecution of Plaintiff’s case, as

      Hill was the decisionmaker for each of the adverse employment actions of

      which Plaintiff complains, and Hill possesses admissible evidence which is

      not otherwise available.

   5. Accordingly, Plaintiff respectfully requests that this Court grant him leave

      take the deposition of Hill.

      WHEREFORE Plaintiff respectfully requests the entry of an Order: (i)

granting Plaintiff leave to take the deposition of Hill; and (ii) for such other and

further relief as this Court deems just and proper. A proposed order is attached for

the Court’s consideration.

             Respectfully submitted this 5th day of June, 2023.

                                       BUCKLEY BALA WILSON MEW LLP

                                       /s/ Ashley Wilson Clark
                                       Ashley Wilson Clark
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                              kbrooks@bbwmlaw.com
                              Counsel for Plaintiff




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                     UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION

VINCENT HANDSFORD,                      )
                                        )
      Plaintiff,                        )
                                        )
v.                                      )   CIVIL ACTION FILE NO.
                                        )   1:19-cv-05746-JPB-RDC
SHERIFF LEVON ALLEN,                    )
in his official capacity,               )
                                        )
      Defendant.                        )

                          CERTIFICATE OF SERVICE

      I hereby certify that on June 5, 2023, I electronically filed the above

PLAINTIFF’S MOTION FOR LEAVE TO DEPOSE FEDERAL INMATE

VICTOR HILL with the Clerk of Court using the CM/ECF system which will

automatically send e-mail notification of such filing to the following attorneys of

record:

                   Jack Reynolds Hancock - jhancock@fmglaw.com
                    John Douglas Bennett - jbennett@fmglaw.com
                    Kelli Spearman - Kelli.Spearman@fmglaw.com

                                      BUCKLEY BALA WILSON MEW LLP

                                      /s/ Ashley Wilson Clark
                                      Ashley Wilson Clark
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